       Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 1 of 30




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

RREF RB-AL SLDL, LLC,                          )
                                               )
          Plaintiff,                           )
                                               )
v.                                             ) CIVIL ACTION NO.
                                               ) 2:11-cv-00925-MEF-TFM
SAXON LAND DEVELOPMENT                         )
LLC, et al.,                                   )
                                               )
          Defendants.                          )

               NOTICE OF FILING RECEIVER’S FINAL REPORT

         Franklin Street Management Services (the “Receiver”), the Court-appointed

receiver under that certain Order dated February 23, 2012 (Doc. 17) (the “Receiver

Order”), submits this Notice of Filing Receiver’s Final Report, as follows:

         1.     Pursuant to the Court’s November 20, 2013 Final Consent Judgment

and Order (Doc. 75) (the “Termination Order”),1 the Receiver’s authority to

manage, operate, and control the Receivership Property has terminated, subject to

the Receiver’s duty to wind up the affairs of the Receivership estate.                     See

Termination Order ¶ 5(B).




1
  Capitalized terms used herein and not otherwise defined have the meanings ascribed to them in
the Receiver Order or the Termination Order.
                                               1
1/2567743.1
       Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 2 of 30




         2.   The Termination Order directed the Receiver to file its Final Report

on or before January 5, 2014. See Termination Order ¶ 5(D). Attached hereto as

Exhibit 1 is the Receiver’s Final Report.

         3.   Pursuant to the Termination Order, “[i]f no objection to the Final

Report is filed with the Court within fifteen (15) days of the filing of such Final

Report, then, without further order, the Final Report shall be deemed approved,

and the Receiver shall be fully and forever released and discharged from any and

all liability as Receiver of the Receivership Property. Said release and discharge

shall include, without limitation, any and all claims, cross-claims, counterclaims,

causes, damages and actions of every kind and character, and all suits, costs,

damages, expenses, compensation and liabilities of every kind, character and

description, whether direct or indirect, known or unknown, disclosed or hidden, in

law or in equity, which anyone has or will have against the Receiver and/or any of

the Receiver’s agents, representatives, officers, attorneys, professionals, employees

or contractors, on account of, arising, or resulting from, or in any manner

incidental to, the Receivership, the Receivership Property, the Receiver’s

possession and/or use of the Receivership Property, the administration of the

Receivership estate, and/or any acts or omissions of the Receiver.” Termination

Order ¶ 5(E).

         4.   Upon such approval of the Final Report, the remaining cash held by

the Receiver shall be remitted to the Plaintiff. See Termination Order ¶ 5(F). In
                                            2
1/2567743.1
       Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 3 of 30




addition to the expenses reflected in the Final Report, the Receiver estimates

additional attorneys' fees/expenses in the amount of $500 to $1,000. The Receiver

will pay such additional fees from cash in the possession of the Receiver prior to

making the final distribution to the Plaintiff.

              Respectfully submitted this the 16th day of December, 2013.

                                        /s/ Jennifer H. Henderson
                                        Jennifer H. Henderson
                                        BRADLEY ARANT BOULT CUMMINGS LLP
                                        One Federal Place
                                        1819 Fifth Avenue North
                                        Birmingham, AL 35203
                                        T: 205.521.8000
                                        F: 205.521.8800
                                        jhenderson@babc.com

                                        Attorneys for the Receiver




                                           3
1/2567743.1
       Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 4 of 30




                          CERTIFICATE OF SERVICE
              I hereby certify that on December 16, 2013, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following:

              Andrea L. Weed
              Burr & Forman LLP
              Suite 3400
              420 North 20th Street
              Birmingham, AL 35203
              205-251-3000
              Fax: 205-458-5100
              Email: aweed@burr.com

              Heather Ann Lee
              Burr & Forman LLP
              420 North Twentieth Street
              Suite 3400
              Birmingham, AL 35203
              205-458-5170
              Fax: 205-458-5100
              Email: hlee@burr.com

              John Robert Faulk
              McDowell, Faulk & McDowell
              145 West Main Street
              Prattville, AL 36067
              334-365-5924
              Fax: 334-365-6016
              Email: robert@mcdowellfaulk.com

              Clifford Wayne Cleveland
              Cleveland & Colley, PC
              PO Box 680689
              Prattville, AL 36068-0689
              334-365-1500
              Fax: 334-365-1601
              Email: law.office@clevelandcolley.com

and I hereby certify that I have mailed by United States Postal Service the
                                           4
1/2567743.1
       Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 5 of 30




document to the following non-CM/ECF participants:

              None

                                               /s/ Jennifer H. Henderson
                                                 Jennifer H. Henderson




                                       5
1/2567743.1
       Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 6 of 30




                                  EXHIBIT 1
                            [Receiver’s Final Report]




                                       6
1/2567743.1
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 7 of 30




     November 2013—FINANCIAL REPORT

 




              SAXON LAND DEVELOPMENT
                      MILLBROOK, AL

                                                     Jeff Boles I Property Manager
                                                      Jeff..Boles@FranklinSt.com
         Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 8 of 30




TABLE OF CONTENTS                            




      SECTION ONE: MANAGEMENT AND MAINTENANCE ACTIVITY
      RECEIVER’S REPORT
      PROPERTY MANAGEMENT REPORT


      SECTION TWO: LEASING INFORMATION
      LEASING/MARKETING REPORT


      SECTION THREE: FINANCIAL INFORMATION
      BALANCE SHEET
      YEAR TO DATE INCOME STATEMENT
      BANK RECONCILIATION




November 2013—Financial Report                               SAXON LAND DEVELOPMENT
                                                                        MILLBROOK, AL
         Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 9 of 30




              SECTION ONE: MANAGEMENT AND MAINTENANCE ACTIVITY
                                                        RECEIVER’S REPORT
                                              PROPERTY MANAGEMENT REPORT




November 2013—Financial Report                               SAXON LAND DEVELOPMENT
                                                                        MILLBROOK, AL
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 10 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 11 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 12 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 13 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 14 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 15 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 16 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 17 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 18 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 19 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 20 of 30
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 21 of 30
 Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 22 of 30




PROPERTY MANAGEMENT REPORT
       November, 2013




                  Saxon Land Development
                   1820 I-65 Service Road
                 Millbrook, Alabama 36054
            Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 23 of 30




Date: December 9, 2013                                                       Report Prepared By: Jeﬀ Boles
Management Summary:
The subject property is located in the City of Millbrook, Elmore County, Alabama, along I‐65 Service Road, south of
its intersec on with Cobbs Ford Road. There are two buildings on the Receivership property. The primary struc‐
ture is a 16,590 square‐foot retail‐service building with two loading dock areas. The second is a 6,000 square‐foot
storage building with mul ple roll‐up doors. The improvements sit on a 4.72 acre site. The property is bordered
by an RV/Trailer park on the south side, and small retail/services/warehouse building on the north side.
The property was placed into Receivership on February 23, 2012.

Property Inspec on Summary:
      The Receivership for this property was terminated as of November 20th, 2013. The monthly site in‐
spec on was scheduled for November 22nd. Due to the ming of the Receivership cancella on, there was
no monthly site inspec on completed during November.
       Four Seasons Landscaping has been contacted and instructed to immediately cease all services at the
property. They were cu ng the grass around the main building.
       The Realtor for the Borrower was given the code for the lockbox on the main building that contains
the key. The Borrower has possession of the property.




                                                                                                             2
         Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 24 of 30




                                    SECTION TWO: LEASING INFORMATION
                                                  LEASING/MARKETING REPORT




November 2013—Financial Report                               SAXON LAND DEVELOPMENT
                                                                        MILLBROOK, AL
          Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 25 of 30




Marketing Status Report

Saxon Land Development

9‐Dec‐13
Attn: Andrew Bezila
Rialto Capital
750 Hammond Drive, Building 6
Atlanta, GA 30328
Andrew.Bezila@RialtoCapital.com

Andrew,

The following is a summary of our marketing efforts and results for the above referenced property.

DATE MARKETING BEGAN: 10-Apr-13               RATE: Negotiable                       CTI's: Gross Lease




                           There have been no calls or leads for this property. The property is no longer being
 AGENT                     marketed by Franklin Street, either for sale or for lease, due to the termination of
 COMMENTS                  the Receivership.




                            Millbrook, AL is a rural submarket located just north of Montgomery, AL. The heart
                            of the retail corridor is located east of I‐65 along Legends Parkway. The subject
                            property is on the southeast end of the market and fronts I‐65. We have had very
                            little interest from tenants looking to enter this market. The lease‐up for this asset
 MARKET                     will take time and will require landlord concessions in the form of free rent, TI, and
 FEEDBACK                   reduced rent rates.




      3384 Peachtree Road NE | Suite 650 | Atlanta, GA 30326 | Tel: 404-832-1250 | Fax: 404-842-1755
                                              FranklinSt.com
         Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 26 of 30




                                 SECTION THREE: FINANCIAL INFORMATION
                                                            BALANCE SHEET
                                            YEAR TO DATE INCOME STATEMENT
                                                       BANK RECONCILIATION




November 2013—Financial Report                               SAXON LAND DEVELOPMENT
                                                                        MILLBROOK, AL
Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 27 of 30

                                                                            12/6/2013 7:46 AM
           Saxon Land Development
                Balance Sheet
                        As of 11/30/2013


                                                          Current Balance
                                            ASSETS

      Cash- Operating                                            3,572.23
      Deposit
      TOTAL ASSETS                                              3,572.23


                                            LIABILITIES
      Security Deposit Payable

      TOTAL LIABILITIES


                                            EQUITY
      Owner Contribution                                        18,979.00
      OTHER
      Retained Earnings                                       (15,406.77)

      TOTAL EQUITY                                              3,572.23


      TOTAL LIAB. & STOCKHOLD. EQUITY                           3,572.23




                                        Page 2 of 3
                                               Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 28 of 30
Saxon Land Development
Income/Expense Stmt.
11/30/2013

Beginning Cash Balance                4,707.69                                                                                                                                            4,707.69

                 INCOME                JAN          FEB         MARCH        APRIL        MAY        JUNE        JULY        AUG         SEPT        OCT          NOV          DEC       TOTAL

Rental Income                                  -            -            -            -         -            -          -            -          -            -             -         -         -
                                                                                                                                                                                               -

TOTAL                                      -            -            -            -         -            -          -            -          -            -            -          -             -


                EXPENSES               JAN          FEB         MARCH        APRIL        MAY        JUNE        JULY        AUG         SEPT        OCT          NOV          DEC       TOTAL

EXPENSES                                                                                                                                                                                        -
FSMS - Postage/Mgmt Fee/Rcvr Fee      1,092.39                                                                                                                                             1,092.39
Bradley Arant, etal - Legal Fees        155.00                                                                                                                                               155.00
FSMS - Mgmt Fees                        500.00                                                                                                                                               500.00
Commercial Asset Pres. - Roofing                   1,329.00                                                                                                                                1,329.00
FSMS - Mgmt Fees                                     500.00                                                                                                                                  500.00
Bradley Arant, etal - Legal Fees                                2,261.30                                                                                                                   2,261.30
Bradley Arant, etal - Legal Fees                                                68.00                                                                                                         68.00
FSMS - Mgmt Fees (2 months)                                                  1,000.00                                                                                                      1,000.00
Jeff Boles - reimbursement for keys                                             32.44                                                                                                         32.44
4 Seasons Irrigation & Landscape                                                                      200.00                                                                                 200.00
FSMS - Mgmt Fees                                                                                      500.00                                                           -                     500.00
FSMS - Mgmt Fees                                                                                      500.00                                                                                 500.00
Bradley Arant, etal - Legal Fees                                                                                 102.00                                                                      102.00
FSMS - Mgmt Fees                                                                                                 500.00                                                                      500.00
FSMS - Receiver Fees                                                                                             150.00                                                                      150.00
Commercial Asset Pres. - Roofing                                                                                            2,449.00                                                       2,449.00
FSMS - Mgmt Fees                                                                                                              500.00                                                         500.00
FSMS - Receiver Fees                                                                                                          300.00                                                         300.00
FSMS - Mgmt Fees                                                                                                                         500.00                                              500.00
4 Seasons Irrigation & Landscape                                                                                                         200.00                                              200.00
4 Seasons Irrigation & Landscape                                                                                                                      200.00                                 200.00
FSMS - Receiver Fees                                                                                                                                  150.00                                 150.00
FSMS - Mgmt Fees                                                                                                                                      500.00                                 500.00
4 Seasons Irrigation & Landscape                                                                                                                      200.00                                 200.00
FSMS - Receiver Fees                                                                                                                                  150.00                                 150.00
FSMS - Receiver Fees                                                                                                                                               150.00                    150.00
Bradley Arant, etal - Legal Fees                                                                                                                                 1,292.00                  1,292.00
FSMS - Mgmt Fees                                                                                                                                                   333.33                    333.33
                                                                                                                                                                                                -
                                                                                                                                                                                                -
                                                                                                                                                                                                -
                                                                                                                                                                                                -
TOTAL                                  1,747.39    1,829.00     2,261.30     1,100.44       -       1,200.00     752.00     3,249.00     700.00     1,200.00     1,775.33        -        15,814.46
+/- Prior Year Income/(Loss)             407.69                                                                                                                                              407.69
NOI                                   (1,339.70)   (1,829.00)   (2,261.30)   (1,100.44)     -       (1,200.00)   (752.00)   (3,249.00)   (700.00)   (1,200.00)   (1,775.33)      -       (15,406.77)

Owner funding                                                   8,604.00                            6,075.00                                                                             14,679.00
Owner distribution                                                                                                                                                                             -

NET CASH FLOW                         (1,339.70)   (1,829.00)   6,342.70     (1,100.44)     -       4,875.00     (752.00)   (3,249.00)   (700.00)   (1,200.00)   (1,775.33)      -        3,572.23
                      Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 29 of 30

                                                     Saxon Land Development
                                                    Bank Reconciliation Report
                                                            11/30/2013



        Balance Per Bank Statement as of 11/30/13                                         3,572.23

        Plus:            Outstanding Deposits

        Less:            Outstanding Checks                                                  -0.00

        Plus/Minus:      Other Items


                                        Reconciled Bank Balance                                         3,572.23




        Balance per GL as of 11/30/13                                                     3,572.23


                         Book Reconciling Items


        Plus/Minus:      Book Reconciling Items

                                        Reconciled Balance Per G/L                                      3,572.23




        Difference                                                                                   0.00



        Outstanding Checks

        Date             Tran #         Notes                                    Amount




Total            Total Outstanding Items                                            0.00
          Case 2:11-cv-00925-MEF-TFM Document 76 Filed 12/16/13 Page 30 of 30




November 2013—Financial Report                                      SAXON LAND DEVELOPMENT
                                                                              MILLBROOK, AL
